Case 9:24-cr-80011-AMC Document 35 Entered on FLSD Docket 06/28/2024 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 24-80011-CR-AMC

  UNITED STATES OF AMERICA

  vs.

  JAMIE MICHAEL LARKIN,

         Defendant.
                                           /


             THE UNITED STATES OF AMERICA’S RESPONSE TO DEFENDANT’S
              OBJECTIONS TO THE PRESENTENCE INVESTIGATION REPORT

         The United States of America, through the undersigned counsel, files the following

  response to the Defendant’s Objections to the Presentence Investigation Report (DE 27) 1:


         The Government does not object to any of the Defendant’s proposed factual corrections to

  the PSI.


         1. No objection to correction of defense counsel’s email address.

         2. Paragraph 12 – The Government has no objection to the addition of this language.

         3. Paragraph 14 –

                 a. Actual Loss:     Defense has made a clerical error with the actual loss here.

                    The parties agreed in the plea to jointly recommend that the Defendant’s GSR



  1  The undersigned AUSA was out of the country from June 10 to June 18 and not checking the
  Court docket during that time. During the latter part of the trip, the undersigned AUSA contracted
  a foodborne illness. On June 19, 2024, he advised defense counsel of his illness but did not file
  anything with the Court. Undersigned travelled to the Court hearing from Miami, Florida but
  then learned it was postponed. Undersigned remains ill but is recovering. Unfortunately, on
  June 25 evening and on June 27, undersigned was in bed with more severe symptoms and continues
  to recover.
Case 9:24-cr-80011-AMC Document 35 Entered on FLSD Docket 06/28/2024 Page 2 of 3




                   range be calculated based on an actual loss of $997,911 (Not $967,911).      The

                   Government, through its agents, did advise the U.S. Probation Office that the

                   intended loss could be estimated to be $1,027,956.

               b. The Government has no objection to the Defendant’s other requested additions

                   to paragraph 14.   O’Brien has admitted that he solicited Larkin’s involvement.

                   Larkin has admitted he knew that they needed him to conceal their ownership

                   because of audits that the other two men had had of other pharmacies in the

                   past.

        4. Paragraphs 15 and 20 -      The Government has no objection to the inclusion of the

           proposed statements.    O’Brien and Solari obtained the patient leads, got others to sign

           the prescriptions, got others to pay the kickbacks, and hired other people, beside Larkin,

           to run the pharmacy and submit the claims to Medicare.           Nevertheless, Larkin’s

           claimed “sole ownership” allowed the other two men to avoid audits and obtain more

           money from Medicare through Rite Care Pharmacy (even afer they had done so at other

           pharmacies earlier in time).

        5. Paragraph 19 – No objection to adding that O’Brien drafted that specific letter with the

           clarification that Larkin was aware of this false statement (addressed from him as

           owner) to the Georgia Board of Pharmacy.

        6. Offense Level Computation – The Government agrees that it has entered a plea to

           jointly recommend with the defendant that his total offense level is a Level 15.




                                                 2
Case 9:24-cr-80011-AMC Document 35 Entered on FLSD Docket 06/28/2024 Page 3 of 3




          7. Paragraph 64 - No objection to the Defendant’s correction of his height in the PSI.


                                                      Respectfully submitted,


                                                      MARKENZIE LAPOINTE
                                                      UNITED STATES ATTORNEY

  Date:   June 28, 2024                        By:    s/Timothy J. Abraham
                                                      TIMOTHY J. ABRAHAM
                                                      ASSISTANT U.S. ATTORNEY
                                                      Florida Bar No. 114372
                                                      99 N. E. 4th Street, 6th Floor
                                                      Miami, Florida 33132-2111
                                                      Tel. No. (786) 877-4964
                                                      Fax No. (305) 530-7976
                                                      Email: Timothy.Abraham2@usdoj.gov



                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 28, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF which sent notice to the parties of record.

                                                      /s/Timothy J. Abraham
                                                      Timothy J. Abraham, AUSA




                                                  3
